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(D); 8/21/23

Policy: CollecƟon Development

1. Background
The Faye eville Public Library strives to inform, enlighten, and empower every person in the
community. The Vision and Mission Statements of the Faye eville Public Library guide the
selec on of resources, development of services, and the alloca on of funds. One of the primary
goals of the Faye eville Public Library is the development and maintenance of an excellent
materials collec on. This includes the selec on, acquisi on, organiza on, circula on, and
promo on of fic on, nonfic on, and audiovisual materials in a variety of formats for both youth
and adults.

Because no library can possibly acquire all print and non-print material, each library must
employ a policy of selec vity in acquisi ons. The Library provides within its financial limita ons
a general collec on of reliable materials embracing broad areas of knowledge. Included are
works of enduring value and mely materials on current issues. Within the framework of these
broad objec ves, selec on is based on community needs, both those expressed and those
inferred.

2. Purpose of CollecƟon Development Policy
The following document describes the processes and methodologies used at the Faye eville
Public Library to select, purchase, and maintain the materials collec on. The purpose of this
policy is both internal and external. As an internal document, it serves as a guide for Library staﬀ
in selec ng and acquiring a useful, well-rounded collec on to meet the needs of the
community. The policy also provides a clear outline of the roles, du es, and responsibili es of
all persons involved in the selec on of materials. As an external document, the purpose is to
explain to the community the mission and objec ves of the Library’s collec on so they can
be er understand what types of materials are collected and why. In doing this, the policy
aﬃrms the principles upon which selec on is based and the policies and goals for managing the
collec on.

3. CollecƟon ObjecƟves

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All collec ons are provided to meet the individual’s need for informa on; to help the individual
pursue life-long learning and cultural growth; to provide the means for though ul and
produc ve par cipa on by individuals and groups in the aﬀairs of the community, the na on
and the world; to support the educa onal, governmental, cultural, recrea onal, and economic
ac vi es within the community; to foster diversity; and to accommodate the library needs of a
changing and dynamic community. In support of these ideals, the Faye eville Public Library
oﬀers a collec on of materials that is diverse, inclusive, and protected by the First Amendment
of the United States Cons tu on and the Arkansas State Cons tu on. In addi on to the
requirements of the general public served, materials will be selected to meet the needs of such
groups as business; the professions; government; community organiza ons; the homebound;
adult beginning readers; and people for whom English is not the primary language.

4. Controversial Material
The Library and its Board of Trustees support the individual’s right to have access to ideas and
informa on represen ng divergent points of view and support the right of each individual to
privately read, listen to, and view the full range of published thought and idea. The Library’s role
is to provide materials that will allow individuals to freely examine issues and make their own
decisions. Staﬀ will a empt to select materials that represent a wide range of viewpoints and
will do their best to exercise impar ality in all selec on ac vi es. In this connec on, the Library
endorses and incorporates by reference herein the “Library Bill of Rights” and the “Freedom to
Read,” “Freedom to View,” and “Labeling” statements adopted by the American Library
Associa on.

The selec on of any item does not imply the Library’s endorsement of the author’s viewpoint,
or of any theory, idea, or policy contained in it, nor does the Library endorse par cular beliefs or
views. The race, religion, na onality, gender, gender expression, sexual orienta on, or poli cal
views of an author; the use of frank or coarse language; the controversial content of an item; or
the endorsement or disapproval of an individual or group in the community will not cause an
item to be automa cally included or excluded from the Library collec on. The Library collec on
will be organized, marked, and maintained to help people find the materials they want. Library
materials will not be marked or iden fied to show approval or disapproval of the contents, nor
will items be sequestered, except for the purpose of protec ng them from the or damage or
required by law.

5. Responsibility
Ul mate responsibility for the collec on and material selec on rests with the Execu ve
Director, as directed by the Library Board of Trustees. The Execu ve Director operates within the
framework of policies set by the Board of Trustees and within the constraints of the annual
budget. Due to financial constraints, resource sharing with other libraries, and electronic and
other methods of informa on access, are valid and necessary means of mee ng patron needs.

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The Execu ve Director delegates the responsibility for the selec on of materials and
development of the collec on to various Library staﬀ members. The Director of Library Services
determines the materials budget alloca ons, guidelines, and organiza onal structure for
designated collec on managers, oversees the selec on process, and works with Department
managers in se ng yearly objec ves. Direct responsibility for each collec on rests with librarian
selectors, who are responsible for choosing appropriate materials for their area and ensuring
the collec on is developed and maintained. Under the supervision of their department
manager, selectors are responsible for reading review sources, making primary selec ons, and
expending their collec on budgets in a mely and organized manner. In addi on, one or more
staﬀ members will frequently crosscheck for addi onal materials within the primary area of
responsibility of another staﬀ member. Those who select materials make certain that new
subjects are not neglected, ensure the general balance of the collec on is maintained, and
review the duplica on of materials in demand.

6. SelecƟon Criteria
When selec ng materials for the collec ons, whether donated or purchased, selectors consider
the following criteria:

      Patron Request
      Popularity of the author, specific tle and/or subject
      Local interest
      The author’s reputa on and place within the world of literature
      Quality of the wri ng
      Literary merit
      Receipt or nomina on for award
      Authority
      Objec vity
      Accuracy and meliness
      Reputa on of the publisher
      Price
      Demand within the subject area
      Suitability for the Library’s audience in terms of scope and level of wri ng
      Present collec on composi on


7. CollecƟon EvaluaƟon
The Library monitors and evaluates the materials in its collec on on a regular and con nuous
basis to determine if they meet the needs of its patrons and that the Library is fulfilling its

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mission. The collec on will be evaluated in response to the changing nature and needs of its
community through weeding and replacement of tles. Methods used may include analysis of
turnover rates by subject, availability and usage checks of tles, circula on reports, comparison
with selected bibliographies or “best books” lists, patron input, or other means. Through
ongoing quan ta ve and qualita ve methods, Library staﬀ monitors the collec on to ensure its
excellence.

7.1 Material Withdrawal
Withdrawal (also called weeding) is an important aspect of collec on development. Weeding is
a task requiring skill, care, me, and knowledge of the collec on. Weeding is a necessary
adjunct of selec on because it systema cally eliminates unnecessary items, outdated or
superseded materials, tles infrequently used, no longer of interest or in demand, unnecessary
duplicates, and worn out or damaged items.

Materials that are no longer useful in the light of stated objec ves and other factors, such as
public demand, physical condi on, age, and space considera ons, will be systema cally deleted
from the collec on. This includes the condi on of the item, its circula on rate over the past
several years, and its quality level as determined by staﬀ. For nonfic on materials, a
determining factor will also be the age of the item – par cularly in the science and health-
related areas where meliness is of vital importance. Individual bias and interest must not be
allowed to dominate material withdrawal. The community should be able to find informa on in
the Library on all subjects.

7.2 DisposiƟon of Withdrawn Materials
Discarded materials may be sold or may be given to the Friends of the Faye eville Public Library
and local non-profit organiza ons. Priority in these cases will be given to the Friends of the
Faye eville Public Library.

Some items may be physically discarded if they are significantly damaged, such as missing
pages, or are otherwise not in condi on to be sold or reused. Recycling is the preferred disposal
method.

Procedures for the disposal of discarded materials shall not violate local, state, or federal laws.

7.3 Materials Prone to TheŌ or Damage
When a book or periodical is discovered to be frequently lost or damaged, it may be held
behind the appropriate public service desk for in-house use by patrons. Patrons must deposit a
library card, driver’s license, or similar iden fica on for in-house use, which will be retrieved
when the item is returned.


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7.4 Materials Not Collected
The Library does not collect textbooks and books in Braille.

7.5 New Formats
New formats will be considered for the collec on when, by industry report, na onal survey
results, and evidence from local requests, a significant por on of the community has the
necessary technology to make use of the format. Availability of items in the format, the cost per
item, and the Library’s ability to acquire and handle items will also be factors in determining
when a new format will be collected. Similar considera ons will influence the decision to delete
a format from the Library’s collec on.

8. AcquisiƟon PrioriƟes, GiŌs, and RecommendaƟons

8.1 Replacements, Duplicates, and MulƟple Copies
A replacement is an item purchased to replace a tle previously in the collec on. Due to cost
constraints and availability, the Library will not automa cally replace items withdrawn because
of loss, damage, or wear. Replacement items may be more current, more comprehensive, or
be er treatments in the same subject area as the item being replaced. The Library will not
duplicate items in the collec on at the expense of the first copy of an important, but less
popular, item needed in the permanent collec on.

The Library does not have the budgetary resources to buy mul ple copies of every tle it owns.
It does, however, buy mul ple copies of tles that have high patron demand. The Library strives
to maintain a holds ra o (i.e., for every 5 holds on a tle, another copy is purchased) as allowed
by budget constraints.

The need for replacement or duplica on in each case is judged by the following factors:
    Accuracy and currency of content
    Number of copies available in the collec on
    Coverage of the subject in the exis ng collec on
    Demand
    Availability
    Cost

8.2 GiŌs and DonaƟons
All gi s and dona ons of books and other materials are accepted with the understanding that
they may be used or disposed of as the Library staﬀ determines appropriate in accordance with
the criteria set forth in this policy. Cash dona ons intended to purchase materials, for example
as memorials or honoraria, are accepted with the understanding that the Library will select and


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purchase materials using the same criteria set forth in this policy to best meet the needs of the
exis ng collec on. See also Faye eville Public Library Policy MG, “Gi s and Memorials.”

In special cases, Library staﬀ members may evaluate the items before they are donated in order
to determine whether the item will be added to the collec on.

8.3 Patron Requests
Faye eville Public Library welcomes sugges ons from the community concerning possible
purchases of materials. All sugges ons are given serious considera on. These sugges ons will
be considered by the same criteria as any other materials purchased for the Library. In cases
when the request is for an item that would otherwise be considered borderline, the Library will
generally a empt to order the material as the budget permits. Items that are not purchased
based on patron requests may be available through Interlibrary Loan (see Policy LI).

9. ReconsideraƟon of Library Materials
See Faye eville Public Library Policy MR, “Reconsidera on of Library Materials,” for this
procedure.

10. Library CollecƟons
Faye eville Public Library strives to meet the diverse reading needs of the community. Library
collec ons are developed to increase accessibility of materials and will be organized, marked,
and maintained to help patrons find the materials they want. Parents and guardians have the
right and responsibility to guide and direct the reading choices of their own minor child(ren).
The Library does not stand in place of parents (in loco paren s).

The following sec on outlines the various collec ons and related selec on criteria.

10.1 Adult FicƟon
Fic on and literature are heavily used within the community. When possible, Faye eville Public
Library will strive to have complete holdings by all the best contemporary fic on authors – both
American and interna onal. The collec on should also serve as a repository for the standards of
world literature and serve as a representa ve archive of the world of fic on.

In addi on, the Library will have a strong collec on of the works of local writers and a collec on
of popular and genre fic on suﬃcient to meet the reading needs of the community. The
collec on will include comprehensive collec ons of wri ngs by the most popular contemporary
writers. The collec on will also include a variety of more esoteric fic on to add balance and
depth to the collec on. The goal is to build a collec on emphasizing a variety of viewpoints,
forms, and techniques.


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10. 2 Adult NonficƟon
The nonfic on collec on will meet the informa onal and reading needs of the community. It
should contain both current, popular items and up-to-date informa on for the broadest
possible range of subject areas. The Library will also own contemporary and classic standard
works from all general subject areas.

The nonfic on collec on emphasizes mely, accurate, and useful informa onal materials to
support individual and community interests. Materials are selected to represent a con nuum of
opinions and viewpoints when available. Titles with sustaining value and those of current,
accepted authority are part of the Library collec on. As a new field of knowledge emerges, the
Library responds with mely addi ons.

10.3 Arkansas-Related PublicaƟons
The following is a summary of the areas of emphasis of this collec on:

       1.) The Library will purchase all Arkansas-related publica ons by the University of
       Arkansas Press and supplemental tles from the Press as demand warrants.

       2.) The Library will own all books dealing with Arkansas in its en rety, and most general
       overviews of large regions within the state including histories and natural science
       materials. Excep ons to this rule include scholarly materials that would significantly
       overlap the collec ons at the University of Arkansas.

       3.) Map collec on: The Library will own up-to-date topographical maps for Northwest
       Arkansas and detailed highway maps for the en re state.

       4.) Ver cal Files: The Library will select extensively from newspapers and magazines for
       Faye eville and Washington County-related informa on, including informa on related
       to biographies, architectural informa on, events, ins tu ons and organiza ons, places
       of historical significance, industry, and business. The Library will also collect this sort of
       informa on statewide on a more limited basis.


10.4 Award Winners
The Library will, as available, own the complete holdings of the major award winners. For
adults, these include, but are not limited to: The Na onal Book Award, Pulitzer Prize winners,
The Nobel Prize for Literature, The Na onal Book Cri cs Circle Award, and the Pen/Faulkner
award. In addi on, the Library will have extensive holdings for each of the authors who have
won these prizes. For teen fic on, this will include, but are not limited to: the Michael L. Printz
Award, the William C. Morris YA Debut Award, the American Indian Youth Literature Award, the

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Asian/Pacific American Award for Literature, the Stonewall Book Award, the Pura Belpré Award,
the Schneider Family Book Award, and the Eisner Award. For children’s materials, this will
include, but are not limited to: The Newbery Medal, the Caldeco Medal, Pura Belpré Award
Winners, Core a Sco King Award, and two Arkansas awards: the Charlie Mae Simon and The
Diamond Primary awards. The Library will also ac vely collect authors and tles from required
reading lists from local K-12 schools.

10.5 Audiobooks
The audiobook collec on will contain fic on and nonfic on tles, emphasizing fic on. It will
also contain both popular and literary works, with an emphasis on the former. It is not intended
as a comprehensive collec on, but instead as a sampling of the best in contemporary popular
fic on, supplemented by a variety of nonfic on and literary fic on tles. The high prices of
unabridged audio books mean that cost will frequently be a significant issue in determining
which tles are selected.

10.6 Bookmobile CollecƟon
The Library’s bookmobile collec on will reflect the informa onal, recrea onal, and cultural
reading needs of youth, teens, and adults. The collec on is a standalone collec on, treated as
its own branch, and will priori ze popular tles and community recommenda ons.

10.7 eBooks and eAudiobooks
The Library applies the same purchasing standards to its eCollec ons. In addi on to locally
curated collec ons, eBooks are made available through subscrip on services. In these
instances, selec ons may not match the selec on criteria outlined in this policy.

When feasible, the Library will partner with other libraries to provide online resources and
digital content. In those instances where the Library shares a collec on or resources with other
libraries, Faye eville Public Library’s circula on policies and collec on development policies,
including requests for reconsidera on, may not be applicable.

10.8 Equipment
Faye eville Public Library may lend certain equipment, e.g., laptop computers, routers, and a/v
equipment, based on emerging formats and community needs. Equipment will be evaluated for
inclusion in the collec on as technology advances and funding permits. Special terms and
condi ons for use may apply.


10.9 Genealogy and Local History
The following is a summary of the goals of the Grace Keith Genealogical Collec on, and a
hierarchy of purchasing, in descending order of emphasis:

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       1.) The Faye eville Public Library will own a comprehensive collec on of genealogy and
       local history materials for Washington, Benton, Carroll, and Madison coun es. The
       excep on to this rule is in cases where the holdings of the University of Arkansas would
       make such a collec on imprac cal and/or unnecessary. Family histories, family records,
       etc. for the en re region will be collected.

       2.) A er these primary needs are met, significant addi onal resources from throughout
       Northwest Arkansas – roughly defined as Crawford, Franklin, Johnson, Newton, Marion,
       Searcy, Pope, and Boone coun es –all Arkansas coun es will be collected. This includes
       informa on surrounding both family records and broader histories of individual coun es
       and regions.

       3.) Genealogy and local history materials from the rest of the state will also be collected.
       This includes informa on surrounding both family records and broader histories of
       individual coun es and regions. No ng significant holdings in Li le Rock and Fort Smith,
       materials covering these regions will not be an emphasis.

       4.) Informa on on neighboring states and states with high pa erns of migra on to
       Arkansas. While the collec on represents all the states and has an Arkansas focus,
       Virginia, North Carolina, South Carolina, Georgia, Kentucky, Tennessee, Pennsylvania,
       Missouri, and Maryland will be well represented because they were the principal states
       from which early se lers migrated to Arkansas.

       5.) Areas beyond the scope of emphasis stated above will be collected as the budget
       allows. Dona ons of these materials will be accepted and considered for the collec on.
       Special purchases may also be considered when the budget permits and demand for the
       materials warrants their selec on.

10.10 Graphic Novels
The Library will develop a graphic novel collec on of core and popular tles that serve the
informa onal and recrea onal interests of children, teens, and adults. The Library strives to
choose graphic novels that serve a wide age range of audiences and that cover a wide range of
interests and ideas. Children’s graphic novels are shelved in the Grade School Library, teen
graphic novels in the Teen Library, and adult graphic novels in the Adult Collec ons. Selec on
criteria include reviews, quality, awards, patron demand, popularity of similar works in the
collec on, and importance of the work to the history of the medium.

10.11 Juvenile Audiobooks


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The juvenile audiobook collec on will contain fic on and nonfic on tles and tles with an
accompanying read-along book. It will contain popular, award-winning tles in both abridged
and unabridged formats, with an emphasis on unabridged. The goal of this collec on is to
provide a sampling of the best materials available in this format – including Newbery, Charlie
Mae Simon, and Printz award winners. It will also include a range of popular and recommended
 tles.

10.12 Juvenile FicƟon
Faye eville Public Library strives to have a collec on that sa sfies the informa onal,
recrea onal, and cultural reading needs of children from infants through age 12. The first
objec ve in selec ng children’s fic on is to encourage the child’s joy in being read to and in
reading. Fic on is oﬀered for educa on and entertainment purposes for children of all abili es
and reading levels. The children’s fic on collec on will a empt to have complete holdings of
award-winning fic on tles, complete series by popular authors, books considered to be
classics, and mul ple copies of current fic on in high demand. The collec on will strive to meet
the reading needs of the Library’s diverse community of users. This collec on also serves
parents, teachers, and other adults who use children’s materials.

10.13 Juvenile Film
The children’s film collec on will oﬀer a variety of movies rated G and PG by the Mo on Picture
Associa on of America (MPAA) that are geared toward children age infant through age 12. Non-
rated film will be included as appropriate when the item falls outside MPAA jurisdic on, for
example television series, or the film’s crea on pre-dates the MPAA ra ngs system. The primary
focus will be educa on and entertainment. This collec on will feature award-winning movies in
addi on to classics, family movies, and popular tles. The nonfic on collec on will oﬀer
instruc onal, self-help, and educa onal tles.

10.14 Juvenile NonficƟon
The juvenile nonfic on collec on will meet the informa onal demand for school assignments
and reports, as well as the recrea onal reading needs of children infants through sixth grade. It
should contain current and mely informa on, in addi on to popular subject areas. The Library
will con nually seek to interact with local schools in an eﬀort to purchase materials that will
meet the needs of area students. The Library will support and enhance its collec on to reflect
the curriculum needs as well as the interests of the community. This collec on also serves
parents, teachers, and other adults who use children’s materials.

10.15 Large Print
The Library houses a significant collec on of large-print materials. The Library will collect many
best-selling large print general fic on tles, as well as new publica ons in the genres of


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romance, mystery, western, and inspira onal fic on. A sampling of the best contemporary
literary fic on and nonfic on tles will round out the collec on.

Due in large part to the limited availability and pricing structure for these materials, standing
order plans may be used to obtain them. The materials will focus on popular genres and
recognized and desirable contemporary authors. These plans will be supplemented with the
purchase of popular tles. Due to cost issues, and the fact that specific tles are o en
unavailable and/or diﬃcult to obtain in a large print format, this collec on will not be a
comprehensive one.

10.16 Lucky Day CollecƟon
The Library’s Lucky Day collec on emphasizes bestsellers and popular materials. This collec on
is updated frequently in order to provide high demand tles, and the collec on is not holdable
so that patrons are likely to find a high demand tle on the shelf. In addi on to bestseller and
award lists, hold ra os and local Library circula on sta s cs are consulted when selec ng
materials for this collec on.

10.17 Music CollecƟon
The music collec on at the Faye eville Public Library will have substan al holdings of
classical/opera, folk/country, pop/rock, and blues/jazz. In these areas, the Library will ac vely
collect the best contemporary and classical works. While the Library will not strive for a
comprehensive collec on, the Library will ac vely collect a range of selec ons within these
areas, striving for a sampling of what is currently popular, as well as an overview of the best
performers within the genres.

The Library will also develop small collec ons in addi onal musical genres, including
soundtracks, world music, band music, musicals, etc. These music collec ons will contain a
sampling of well-reviewed and/or popular items.

10.18 ParenƟng CollecƟon
The Children’s Library will provide and maintain an up-to-date circula ng collec on that will
address paren ng and child-care issues. This collec on will feature award winning and/or
recommended materials consis ng of print books, pop-up books, and a variety of theme kits,
puzzles, and instruc onal kits.

10.19 Periodicals and Newspapers
The Library will own a wide range of periodicals intended to meet both the reading and basic
research needs of the community. Popular journals will cover a wide range of subject areas of a
general nature, including entertainment, style, sports, music, etc. The Library will also subscribe


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to a broad range of news, business, ar s c, literary, and health publica ons. Back issues of
periodicals may be available for circula on.

The Library will also purchase the major newspapers and other publica ons from Northwest
Arkansas.

The Magazine Collec on is supplemented with research databases to which the Library
subscribes. These databases provide mely and versa le informa on that is o en specialized
beyond the scope of the Public Library’s print collec on.

10.20 Professional CollecƟon
The Library supports a con nuing educa on collec on for the professional development of its
staﬀ. This collec on is housed in non-public areas and consists primarily of material on the
subjects of Library administra on, Library design, collec on development, personnel issues, and
Library procedures. This collec on aids staﬀ in job performance and is used to answer job-
related ques ons and to orient staﬀ members as they begin new projects. Juvenile professional
materials consist of children’s books and books on storytelling in support of youth
programming. Criteria for selec on include price, an cipated usage, poten al usefulness,
exis ng coverage, and the availability of the informa on by other means.

10.21 Read Aloud CollecƟon
The Read Aloud collec on will contain circula ng children’s fic on and nonfic on, as well as
guides for parents and caregivers. The goal of this collec on is to promote families reading
together and reading to children. Materials for this collec on will be researched by staﬀ,
reviewed by professional media, and recommended by experts for reading aloud. Award-
winning and popular items will be selected.

10.22 Reference CollecƟon
Reference materials are for use in the Library. They provide quick, concise, and up-to-date
informa on and index other material in the collec on. They are by their nature designed to be
consulted for definite items of informa on rather than to be read sequen ally. Inclusion in the
Reference Collec on is determined by factors such as cost, complexity, format,
authorita veness, frequency of use, and indexing. When demand dictates and cost permits,
addi onal copies are purchased for lending.

Materials in this collec on cover all subjects ranging in degree of diﬃculty from juvenile to
beginning research level.




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To a limited extent, items not falling strictly within the reference format, but in high demand by
Library users may also be included in the reference collec on to allow maximum use and to
ensure their availability.

10.23 Research Databases
Electronic materials play an important role in the Library’s collec on. In addi on to standard
criteria used in selec ng other formats, special selec on criteria for electronic materials include
ease of use, uniqueness of content, technology requirements, vendor reputa on and customer
service, availability for remote access, and cost.

10.24 Roberta Fulbright Special CollecƟon
Roberta Fulbright Special Collec on consists of materials that maintain a unique emphasis on
books and materials on Roberta Fulbright and the Fulbright family; items that represent the
history, crea vity, and beauty of Arkansas; signed edi ons of local or significant
authors/illustrators; and University of Arkansas yearbooks which fill gaps within the collec on.
Items for this collec on may either be donated or purchased. Responsibility for this collec on
rests with members of the Adult Services Staﬀ.

       SelecƟon Criteria

       Items considered for this collec on will be evaluated using the following criteria:
       1.) The rarity of the item
               a.) Item is out of print, extremely old, collec ble, or hard to keep available in the
               circula ng or reference collec ons
               b.) Items focusing on rare local, regional, or state themes or topics which have
               been issued through standard publishers, by self-publishing methods, or in a
               serial format may be considered
               c.) Item requires addi onal security

       2.) Any special or significant value the item has to the Library or to the community
               a.) Item has unique physical quali es or provenance
               b.) Item reflects the literary interests and character of the community
               c.) Item highlights significant events and/or individuals from Arkansas

       3.) The condi on of the item
               The Library will u lize the following defini ons and guidelines when making
               decisions regarding item condi on. Dona ons or other materials to be
               considered for the Roberta Fulbright Special Collec on should be in “Fine/Like
               New” condi on or “Very Good” condi on. Case-by- case determina ons can be
               made for items in “Good” condi on. Only under excep onal circumstances

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                                                                                               FPL0013
              should items in “Fair” condi on be considered for this collec on. Items in “Poor”
              condi on will not be selected for this collec on.

              Condi on defini ons
                    a.) Fine/Like New: These books possess a fresh, crisp appearance, show
                    no defects and li le usage. Older books may show minor flaws.
                    b.) Very Good: These books show some signs of wear and are no longer
                    fresh. These books retain a visually pleasing appearance, with nice dust
                    jackets and clean text pages.
                    c.) Good: Typically, this category includes the condi on of the average
                    used book with all its text pages present. Books with loose bindings,
                    highligh ng and torn dust jackets can fall into this category.
                    d.) Fair: These books are obviously well-worn, but no text pages are
                    missing; however, it may be missing its endpapers or its tle page. There
                    might be markings, but they do not interfere with readability. Items are
                    o en visually unappealing.
                    e.) Poor: All text is legible but may be age-stained, soiled, and have
                    binding defects. These items are visually damaged and may contain molds
                    or mildews that could damage other items in the collec on.

10.25 Teen FicƟon
Faye eville Public Library strives to meet the informa onal, recrea onal, and cultural reading
needs and interests of young adults ages 12 through 18. The collec on will strive to meet the
reading needs of the Library’s diverse community of users. Fic on for young adults recognizes
the special characteris cs of this age group, including the need to iden fy with others, peer
pressure in the area of behavior and conduct, and a search for self-iden ty, self-worth, and
independence from family. The teen fic on collec on will a empt to have complete holdings of
award-winning fic on tles, complete series by popular authors, books considered to be
classics, mul ple copies of current fic on in high demand, and tles on standard reading lists.

10.26 Teen NonficƟon
The purpose of the teen nonfic on collec on is twofold: 1.) To provide a collec on of materials
relevant to the teenagers of the community in mee ng their educa onal and informa onal
needs. 2.) To meet the recrea onal reading requirements of this popula on of the community.
The Library will con nually seek interac on with local schools in an eﬀort to correlate Library
purchases with the needs of area students.

10.27 Teen Test Prep



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                                                                                          FPL0014
Teen Test Prep provides resources for prac ce, study, and test taking. This collec on focuses on
college admission tests and strategies, as well as resources to support advanced placement
courses and scholarship applica ons.

10.28 Video
The video collec on consists of both feature films and nonfic on works. The feature film
collec on will include a mix of tles from diﬀerent regions of the world and from diﬀerent eras
of filmmaking. Award winners, television drama za ons and nonfic on shows such as are found
on popular streaming pla orms will be collected when available. The primary objec ve is to
oﬀer the best quality materials based on the community’s general and special character and
interests. The Library shall try to not only sa sfy exis ng demands but will a empt to an cipate
poten al needs of patrons.

The Library’s emphasis in purchasing will be to select films of the highest quality – a wide range
of the best of interna onal, independent, and classic cinema. Par cular emphasis will be given
to developing complete holdings by renowned directors and on developing a collec on that will
serve as a representa ve history of film. The Library will also purchase contemporary, high-
quality, popular cinema.

The nonfic on collec on includes instruc onal, self-help, and travel selec ons. It will also
feature a broad sampling of each year’s best documentary films.


10.29 World Languages
Due to the growth of the region’s Spanish-speaking and reading popula on, the Library will
develop holdings of both popular and literary fic on in the Spanish language in the adult, teen,
and juvenile collec ons. Along with popular appeal, world language tles focus on cultural
representa on, requests from na ve speakers, and family appeal. In addi on, the Library will
have small collec ons in other languages, which are targeted toward literary fic on for students
of those languages. The collec ons are not comprehensive, but they contain tles represen ng
a range of fic on and nonfic on and will grow in conjunc on with community demand as
available through Library vendors. Along with personal interest tles, the collec on will include
English Language Learning materials and holdings that support acquiring U.S. ci zenship. As
community needs evolve, languages collected may change.




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                                                                                               FPL0015
Code: MR
Date Approved: 1/09/1995
Date Revised: 1/29/01; 3/26/01; 5/21/01; 8/15/05; 02/14/08(D); 06/09/22(D)


Policy: Reconsideration of Library Materials
A. Policy
This policy applies to materials owned by the Fayetteville Public Library.

Fayetteville Public Library recognizes the principles of free library services and free inquiry as fundamental concepts of the
democratic heritage of the United States of America. The latter principle requires the library to offer different, and
sometimes widely divergent, points of view in many areas of knowledge. The library does not approve or endorse any
particular viewpoint or belief represented in its collection.

The library considers reading, listening, and viewing to be individual, private matters. The library believes that full,
confidential, and unrestricted access to information is essential for citizens to exercise their constitutional rights. While
anyone is free to select or reject materials for themselves or their own minor child(ren), the freedom of others to read or
inquire will not be restricted. Only parents and guardians have the right and responsibility to guide and direct the reading,
listening, and viewing choices of their own minor child(ren). The library does not stand in place of parents (in loco
parentis).

The library considers all materials in its collections to be constitutionally protected under the First Amendment of the
United States Constitution and the Arkansas State Constitution. The library’s role is to provide materials that will allow
individuals to freely examine issues and make their own decisions. In this connection, the library
endorses and incorporates by reference herein the “Library Bill of Rights” and the “Freedom to Read” and “Freedom to
View” statements adopted by the American Library Association. Library materials will not be marked or identified to show
approval or disapproval of the contents, nor will items be sequestered, except for the purpose of protecting them from
theft or damage.

Individuals may raise concerns about library material that does not support their tastes and views. Staff is available to
discuss concerns and identify alternate material that may be available. Customer concerns will be dealt with promptly and
courteously.


B. Procedure
   1. A staff member will listen to the customer’s concerns. This discussion may be referred to a manager, an
      administrator or the assigned in-charge person at either the staff member’s or the customer’s request.
   2. If this discussion proves unsatisfactory to the customer, the customer may make a formal, written request using the
      “Patron Request for Reconsideration of a Work” form (the “Form”). This form will be provided by a manager,
      administrator or the assigned in-charge person.
   3. For the request to be considered, the Form must be completed in full including signature and submitted
      to the Director of Library Services. Only specific works or titles will be considered for reconsideration; requests for
      reconsideration of general topics or subject areas will not be considered.




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                                                                                                                 FPL0016
4. The customer submitting the Form must be a resident of Fayetteville and hold a valid Fayetteville Public
    Library borrower’s card.
5. The material under consideration will remain in the library’s collection pending the outcome of the customer’s
   request. In the event that the material under consideration is lost during the evaluation process, replacement
   materials will be purchased until a final determination has been made.
6. Upon receipt of a completed Form, the Director of Library Services will establish if the request Form is proper, applies
   to the material in question and is complete. If so, the Form will be forwarded to the Executive Director who will
   appoint an ad hoc committee from the professional staff including, but not limited to, the selector for the subject
   area of the item in question and the appropriate department manager.
7. Based on all applicable library policies and procedures, the committee will evaluate the material and make a written
   recommendation to the Executive Director, who will then make a decision regarding the disposition of the material.
8. The Executive Director’s decision will be communicated in writing at the earliest possible date to the customer who
   initiated the request for reconsideration. The response will indicate the action to be taken and reasons for or against
   the request.
9. Requests for reclassification of library material will be considered by the Executive Director in consultation with
   library staff. The Executive Director will decide what action, if any, is to be taken and will notify the customer in
   writing of this decision at the earliest possible date.
10. An item will only be evaluated for reconsideration and/or reclassification once in a twelve-month period.
11. The Executive Director will inform the Library Board of all requests for reconsideration of library materials and
     their disposition.
12. If not satisfied with the Executive Director’s decision, the customer may file an appeal with the Library Board within
     three weeks (21 days) of issuance of the written decision. The appeal should be presented in writing to the President
     of the Board.
13. In the event of an appeal, the Library Board will be given a copy of the customer’s completed Form, the
     committee’s recommendation and the Executive Director’s response to the customer. The Library Board will hear
     an appeal during their normal meeting. The Board reserves the right to limit the length of presentation and
     number of speakers at the hearing.
14. The Board will determine whether the request for reconsideration has been handled in accordance with and the
     decision conforms to all applicable policies and procedures of the Fayetteville Public Library. On the basis of this
     determination, the Board may vote to uphold or override the decision of the Executive Director.
15. The decision of the Library Board is final.




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                                                                                                             FPL0017
                                                                            Code         NC

                                                                            Date Approved 1991 & 3/21/05

                                                                            Date Revised 9/23/99; 3/27/01 (D); 5/28/01 (D);
                                                                            5/13/03 (D); 3/18/04 (D); 8/16/04; 3/21/05;
                                                                            2/08/08 (D); Policies NC & ND combined and
                                                                            revised 10/17/16; 7/12/21 (D)

Policy Name Code of Conduct


1. Fayetteville Public Library is committed to providing a safe, comfortable and welcoming environment
   for all those using the Library. The following policy protects the rights and safety of library patrons, staff,
   and volunteers, and preserves and protects Library materials, facilities, and property.

2. Patrons using the library agree:
    a. Adults are not allowed in the Preschool, Grade School or Teen Libraries unless they are
        accompanied by a child or require access to the youth collections. Adults with children in their
        charge are the only adults allowed to use the restrooms located in youth libraries.
    b. Vulnerable adults will be supervised and attended to by a responsible party.
    c. Patrons, regardless of age, who are unable or unwilling to care for themselves must have
        adequate supervision and may not be left alone in the library. Caregivers must be attentive to the
        needs of person in their care. *Note: Please see our “Children in the library” policy for more
        information.
    d. The police department will be called if children under 12 years of age are left unattended outside
        the building prior to regular opening time or have not been picked up by 15 minutes after closing
        time.
    e. Cell phone use will be short, quiet, and not disturbing to other Library customers and in designated
        cell phone areas.
    f. Headphones are required to listen to audio devices.
    g. Unacceptable behavior or activities include, but are not limited to:
                a. Smoking, skateboarding, or skating, consuming intoxicants, intoxication, spitting, or
                    loitering.
                b. Soliciting, selling, petitioning, canvassing, campaigning, or distributing written
                    materials on premises 1.
                c. Leaving bags and items unattended.
                d. Annoying, harassing or threatening another person.
                e. Abusing another person either physically, sexually, or verbally.
                f. Interfering with others' use of the Library because of odor.
                g. Eating except in the café, deli, Library terrace on the first floor or other approved areas.
                    Possessing food or drink that creates a potential nuisance because of odor, garbage,
                    or spills. Beverages in covered containers are allowed. No food or drink is allowed in
                    the Genealogy Library.
                h. Leaving automobiles in the parking deck overnight or for extended periods when the
                    Library is closed.
                i. Demonstrating or picketing inside the building or in such a way as to block access to
                    the building.
                j. Carrying weapons of any type.
                k. Defacing, damaging, rearranging, or stealing Library or City of Fayetteville property.
                l. Uttering profane, obscene, or injurious language.
                m. Failing to follow the Library’s “Computer Resources and Internet Access” policy.
                n. Failing to wear proper attire. Footwear, shirts/blouses and pants/skirts/dresses are
                    required at all times.
                o. Disturbing public peace by persistent loud, annoying, or aggressive conduct.
                p. Bringing animals into the building, except ADA service animals or by invitation for a
                    program.
                q. Tying-up dogs or cats on Library property as per City of Fayetteville leash law
                    ordinance.


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    Premises is defined as all property up to, but not including, the public sidewalk.
                                                                                                                      FPL0018
                 r. Parking motorized scooters on the plaza and sidewalks. Parking on the south surface
                    parking or parking garage is available.
                 s. Lying down or appearing to be sleeping in the Library; having feet on furniture/wall; or
                    blocking aisles, exits or entrances.
                 t. Being in an unauthorized area of the Library or remaining in an area after its closing;
                    staying in the building when requested to leave during emergency situations or drills.
                 u. Engaging in any activities while on Library premises that are not related to the proper
                    use of the Library.
                 v. Displaying other behaviors inappropriate in a public setting including but not limited to
                    bathing in public restrooms and running.

3. The violation of any federal or state statutes or local ordinance will be regarded as a violation of Library
   rules and may subject the individual(s) involved to exclusion from the Library premises.

4. Notwithstanding the above provisions, any person may, without prior notice or warning, be immediately
   removed from the Fayetteville Public Library if his or her presence or conduct on the premises poses
   an immediate and imminent danger to any person or property on such premises. On first offense of
   unacceptable conduct, the person will be asked to leave the Library; on second offense the person will
   lose library privileges for a short period of time; on third offense all library privileges will be revoked
   indefinitely.

5. Disruptive behavior is any behavior, which, either consciously or unconsciously, violates or restricts the
   rights of others, physical abuse, abusive or threatening language, and misuse of library facilities,
   computer systems and furnishings. Disruptive behavior disrupts the normal functioning of the Library,
   whether or not that disruption is intentional.

6. Theft, vandalism or mutilation of Library material or property are criminal offenses that shall be
   prosecuted. In this regard, the Library staff reserves the right to check library patrons’ personal
   belongings.




                                                                                                        FPL0019
Code: ND Date:
10/19/20 Date
Revised:


Policy: Children at the Library
A. The library welcomes children of all ages. Our goal is to provide a clean, safe, comfortable and welcoming
   environment for all library users.

B. To ensure the safety of children in the library, parents and/or adult caregivers are responsible for their child’s care,
   behavior and safety.

C. Children in need of supervision must be accompanied by a parent/caregiver to ensure the safety and well-being of the
   child. Children ages 5 and under or children under the grade level of kindergarten, must be actively supervised by a
   parent/caregiver.

D. The library cannot serve as long-term or short-term childcare. The library is a public building where people enter and
   leave freely without monitoring.

E. Library staff will refer to this policy when necessary, including in response to the following situations:
         1. An unattended child is found frightened or crying in the library.
         2. An unattended child is perceived to be endangering him or herself, or that another person in the library poses
            a perceived threat to the unattended child.
         3. An unattended child exhibits specific inappropriate behavior.
         4. An unattended child has not been met by a responsible caregiver at closing time.

F. If a safety or behavioral concern is determined, library staff will attempt to contact the parent/caregiver. If that
    parent/caregiver cannot be reached within 15 minutes, the child may be asked to leave the premises or, if under 12
    years of age, may be placed in the care of local law enforcement.

G. Children under 13 may not use the library terraces without active supervision of a parent or adult caregiver.




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                                                                                                                 FPL0020
